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                                                               CIVIL COVER SHEET
JS-44 (Rev. 11/2020 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
                                                                                Attached as Appendix A



                                                   11001                                                                          88888
                                                                                   COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)
 Attached as Appendix B                                                         Attached as Appendix C




 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

 o 1 U.S. Government         o 3 Federal Question                                          PTF    DFT

                                                                                                 o 1 o 1 Incorporated or Principal Place o 4 o 4
                                                                                                                                                             PTF           DFT

         Plaintiff                  (U.S. Government Not a Party)   Citizen of this State
                                                                                                                      of Business in This State
 o 2 U.S. Government         o 4 Diversity                          Citizen of Another State     o 2 o 2 Incorporated and Principal Place o 5 o 5
         Defendant                  (Indicate Citizenship of
                                                                                                         of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o 3 o 3 Foreign Nation                   o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o A. Antitrust             o B. Personal Injury/                        o C. Administrative Agency                               o D. Temporary Restraining
                                     Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                         Injunction
                               310 Airplane                                    151 Medicare Act
                               315 Airplane Product Liability                                                                     Any nature of suit from any category
                               320 Assault, Libel & Slander               Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                               330 Federal Employers Liability                                                                    case assignment.
                                                                               862 Black Lung (923)
                               340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                               345 Marine Product Liability
                                                                               864 SSID Title XVI
                               350 Motor Vehicle
                                                                               865 RSI (405(g))
                               355 Motor Vehicle Product Liability
                                                                          Other Statutes
                               360 Other Personal Injury
                                                                               891 Agricultural Acts
                               362 Medical Malpractice
                                                                               893 Environmental Matters
                               365 Product Liability
                                                                               890 Other Statutory Actions (If
                               367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                   Personal Injury Product Liability
                                                                                   Involved)
                               368 Asbestos Product Liability


 o E. General Civil (Other)                                    OR              o F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits
      210 Land Condemnation                 422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                     465 Other Immigration Actions
      220 Foreclosure                       423 Withdrawal 28 USC 157                         defendant)                                470 Racketeer Influenced
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                         & Corrupt Organization
      240 Torts to Land                 Prisoner Petitions                                    7609
                                                                                                                                        480 Consumer Credit
      245 Tort Product Liability             535 Death Penalty
                                                                                     Forfeiture/Penalty                                 485 Telephone Consumer
      290 All Other Real Property            540 Mandamus & Other
                                                                                          625 Drug Related Seizure of                       Protection Act (TCP )
                                             550 Civil Rights
                                                                                              Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                          690 Other                                     850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                     Other Statutes                                     896 Arbitration
      380 Other Personal Property
                                                                                         375 False Claims Act                           899 Administrative Procedure
          Damage                        Property Rights
                                                                                         376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage                   820 Copyrights
                                                                                             3729(a))                                       Agency Decision
          Product Liability                 830 Patent
                                                                                         400 State Reapportionment                      950 Constitutionality of State
                                            835 Patent – Abbreviated New
                                                                                         430 Banks & Banking                                Statutes
                                                Drug Application
                                                                                         450 Commerce/ICC Rates/etc                     890 Other Statutory Actions
                                            840 Trademark
                                                                                         460 Deportation                                    (if not administrative agency
                                            880 Defend Trade Secrets Act of
                                                                                         462 Naturalization                                 review or Privacy Act)
                                                2016 (DTSA)
                                                                                              Application
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 o G. Habeas Corpus/                           o H. Employment                                 o I. FOIA/Privacy Act                       o J. Student Loan
                2255                                 Discrimination

       530 Habeas Corpus – General                   442 Civil Rights – Employment                   895 Freedom of Information Act              152 Recovery of Defaulted
       510 Motion/Vacate Sentence                        (criteria: race, gender/sex,                890 Other Statutory Actions                     Student Loan
       463 Habeas Corpus – Alien                         national origin,                                (if Privacy Act)                            (excluding veterans)
           Detainee                                      discrimination, disability, age,
                                                         religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o K. Labor/ERISA                              o L. Other Civil Rights                         o M. Contract                               o N. Three-Judge
                (non-employment)                            (non-employment)                                                                     Court
                                                                                                     110 Insurance
       710 Fair Labor Standards Act                  441 Voting (if not Voting Rights                120 Marine                                  441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                         Act)                                        130 Miller Act                                  (if Voting Rights Act)
       740 Labor Railway Act                         443 Housing/Accommodations                      140 Negotiable Instrument
       751 Family and Medical                        440 Other Civil Rights                          150 Recovery of Overpayment
           Leave Act                                 445 Americans w/Disabilities –                      & Enforcement of
       790 Other Labor Litigation                        Employment                                      Judgment
       791 Empl. Ret. Inc. Security Act              446 Americans w/Disabilities –                  153 Recovery of Overpayment
                                                         Other                                           of Veteran’s Benefits
                                                     448 Education                                   160 Stockholder’s Suits
                                                                                                     190 Other Contracts
                                                                                                     195 Contract Product Liability
                                                                                                     196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate         or Reopened         from another           Litigation              District Judge        Litigation –
                           Court             Court                                      district (specify)                             from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
  Conspiracy to interfere with civil rights, 42 U.S.C. § 1985, failure to prevent interference, 42 U.S.C. § 1986, and related state law claims

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $ Proved at trial                        Check YES only if demanded in complaint
                                             ACTION UNDER F.R.C.P. 23                                                            YES               NO
      COMPLAINT                                                                      JURY DEMAND:

 VIII. RELATED CASE(S)                       (See instruction)                                                                   If yes, please complete related case form
                                                                                 YES                     NO
       IF ANY

 DATE: _________________________                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.          COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                       of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.        CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                       under Section II.

           IV.         CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                       represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                       nature of suit found under the category of the case.

           VI.         CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.       RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                       the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
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                               APPENDIX A TO CIVIL COVER SHEET

I.(a) Defendants:

       Donald J. Trump, solely in his personal capacity

       Donald J. Trump for President, Inc.

       Stop the Steal L.L.C.

       Ali Alexander, a/k/a Ali Abdul Razaq

       Brandon J. Straka

       Roger J. Stone, Jr.

       Proud Boys, an unincorporated association

       Proud Boys International, L.L.C.

       Enrique Tarrio

       Ethan Nordean

       Joseph R. Biggs

       Zachary Rehl

       Charles Donohoe

       Dominic Pezzola

       Oath Keepers

       Stewart Rhodes

       Thomas E. Caldwell

       Jessica Watkins

       Kelly Meggs

       Alan Hostetter

       Russell Taylor

       Erik Scott Warner

       Felipe Antonio “Tony” Martinez

       Derek Kinnison

       Ronald Mele

       John Does 1 through 10
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                         APPENDIX B TO CIVIL COVER SHEET



Damon Hewitt
Jon Greenbaum
Edward G. Caspar
David Brody
Arusha Gordon
Noah Baron
Adonne Washington

Law
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                     APPENDIX C TO CIVIL COVER SHEET




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                     717 King Street
                     Suite 200
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                     (703) 888-1943


Oath Keepers         Kerry Lee Morgan
                     Consumer Law Group, P.C.
                     20601 Sumner
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